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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


   UNITED STATES OF AMERICA

   v.                                               Case No. 8:13-cr-229-T-30MAP

   LINDA RODRIGUEZ

                      PRELIMINARY ORDER OF FORFEITURE

          THIS CAUSE comes before the Court upon the United States' Motion for a

   Preliminary Order of Forfeiture (Doc. 57) for the following assets:

                 a.     $5,306.00 United States currency, recovered by the Federal
                        Bureau of Investigation and the Hillsborough County Sheriff's
                        Office on April 11, 2013;

                 b.     A 1999 GMC "dually" style pickup truck, bearing Florida license
                        plate number ARIU09 and Vehicle Identification Number
                        1GTHK33J2XF094232; and

                 c.     The real property located at 7748 Brettonwood Drive, Tampa,
                        Florida, including all improvements thereon and appurtenances
                        thereto, the legal description for which is as follows:

                        LOT 23, BLOCK 1, CYPRESS TREE, AS PER PLAT
                        THEREOF, RECORDED IN PLAT BOOK 48, PAGE 19, OF
                        THE PUBLICA RECORDS OF HILLSBOROUGH COUNTY,
                        FLORIDA.

                        Parcel ID: U-23-28-17-07V-000001-00023.0.

          Being fully advised of the relevant facts, the Court hereby finds that the

   assets represent proceeds derived from, or property that facilitated, the conspiracy

   charged in Count One to which the defendant pled guilty.
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            Accordingly, it is hereby:

            ORDERED, ADJUDGED, and DECREED that for good cause shown, the

   United States’ motion (Doc. 57) is GRANTED.

            It is FURTHER ORDERED that, pursuant to 21 U.S.C. § 853 and Rule

   32.2(b)(2) of the Federal Rules of Criminal Procedure, the assets identified above

   are hereby forfeited to the United States for disposition according to law.

            It is FURTHER ORDERED that, upon entry of this order, it shall become a

   final order of forfeiture as to the defendant.

            The Court retains jurisdiction to address any third party claim that may be

   asserted in these proceedings, and to enter any further order necessary for the

   forfeiture and disposition of such property.

            DONE and ORDERED in Tampa, Florida on August 19, 2013.




   Copies to:
   Counsel/Parties of Record
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